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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA    :
                            :                        CASE NO. 1:21-cr-00552 (DLF)
           v.               :
                            :
KENNETH JOSEPH OWEN THOMAS, :
                            :
Defendant.                  :


           GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION TO
                   MODIFY CONDITIONS OF RELEASE

        The United States, by and through its attorney, the United States Attorney for the District

of Columbia, and pursuant to the Court’s July 3, 2023 Minute Order, hereby submits this

Opposition to the Defendant’s Motion to Modify Conditions of Release. ECF No. 195. The

Defendant—who has now been convicted of five felonies for his criminal conduct on

January 6, 2021—seeks to attend the “Truth and Light Freedom Festival,” an event presented by

“Jan6 Detainees” where he seeks to speak publicly and fundraise.

                                         OPPOSITION

  I.    Trial.

        Following trial, the jury convicted the Defendant on the following seven counts, including

four assault counts:

    •   Count One, Civil Disorder, 18 U.S.C. § 231(a)(3);
    •   Count Three, Assaulting, Resisting or Impeding Certain Officers, 18 U.S.C. § 111(a)(1);
    •   Count Four, Assaulting, Resisting or Impeding Certain Officers, 18 U.S.C. § 111(a)(1);
    •   Count Six, Assaulting, Resisting or Impeding Certain Officers, 18 U.S.C. § 111(a)(1);
    •   Count Seven, Assaulting, Resisting or Impeding Certain Officers, 18 U.S.C. § 111(a)(1);
    •   Count Eight, Entering or Remaining in a Restricted Building or Grounds, 18 U.S.C.
        § 1752(a)(1); and
    •   Count Nine, Disorderly or Disruptive Conduct in a Restricted Building or Grounds,
        § 1752(a)(2).

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 II.      Pre-Trial Violation.

          Contrary to his assertion that the Defendant had no pre-trial violations (Mot. at 1)

(“Defendant has complied with all pretrial and posttrial conditions.”), in or around

March 24, 2023, Thomas violated his pre-trial conditions when he failed to notify his Supervision

Officer of his travels to the D.C. metro area to attend the “CPAC” conference (Conservative

Political Action Coalition). See March 24, 2023 Minute Entry.

          There, he mingled with many of the same individuals who will be present at the event

proposed here. At least one of these individuals was also actively violating his pre-trial conditions.

See March 20, 2023, Minute Entry, US v. Garcia, 1-cr-00129-ABJ. In fact, that Defendant, Gabriel

Garcia, has since been placed on home detention. See id. The Defendant then boasted about those

actions on social media, including in the first image below, where he is seen with Defendant

Garcia:




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III.   Defendant’s Current Request.

       When Defendant violated his pre-trial conditions to attend the CPAC conference as a

January 6 activist, he was presumed innocent. The posture today, however, is quite different: the

Defendant was convicted by a jury of his peers on five felony charges, four of which were for

assault on a federal officer. Therefore, unlike pre-trial release, now, there is a presumption of

detention pursuant to 18 U.S.C. § 3143(a)(1).

       Despite Defendant’s representations, the government has concerns that this convicted felon

seeks to associate with the same individuals with whom he committed crimes on January 6, 2021

and has subsequently associated with while violating the terms of his pretrial release. (Govt Ex.

511 (07:44) (“Right now we got a whole list of patriots goin’ and are gonna’ storm the Capitol.”)).

Indeed, Defendant Garcia, “Captain Gabriel,” is listed as a “speaker” at this event, despite that he

is on home confinement; this begs the question whether this gathering will inspire additional

criminal activity. See ECF No. 195 at 3 (event flyer); March 20, 2023, Minute Entry, US v. Garcia,

21-cr-00129-ABJ (placing Garcia on home confinement due to, inter alia, his attendance at the

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CPAC conference). This concern is underscored by the Defendant’s continued social media

activity online following his convictions. 1

                                          CONCLUSION

       For the reasons discussed herein, the Government requests that the Court deny the

Defendant’s request to attend the “Truth and Light Freedom Festival.”


                                               Respectfully submitted,

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  See, e.g., https://sing4freedom.us/ (website created by the Defendant following January 6 where
he       sells      merch       and     collects     donations,     among        other      things);
https://rumble.com/c/KekistaniRumblings (one of Defendant’s Rumble accounts where he posts
January 6-related materials); https://t.me/s/Pi_An0n (Defendant’s Telegram account where he
actively promotes his activity following January 6, including where he promotes his corporate
sponsors and refers to January 6 defendants as “prisoners of war”) (all including assertions that his
trial convictions on multiple felony assault on law enforcement officer charges were a vindication
of his actions on January 6, 2021, and where he downplays the seriousness of those convictions).
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